                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                 CHATTANOOGA DIVISION

  SHARON M. GUTHRIE,                                )
                                                    )
         Plaintiff,                                 )
                                                    )
  v.                                                )         No. 1:22-cv-00162-DCLC-SKL
                                                    )
  UNITED STATES OF AMERICA,                         )
                                                    )
         Defendant.                                 )

                                 MEMORANDUM AND ORDER

         Before the Court is a Motion to Amend the Amended Scheduling Order filed by Defendant

  United States of America (“Defendant”) [Doc. 42]. Plaintiff Sharon Guthrie (“Plaintiff”) filed a

  response in opposition [Doc. 43], and Defendant filed a reply [Doc. 44]. In the motion, Defendant

  asks the Court to extend the deadline for disclosing its “medical experts” (which for rebuttal

  experts expired January 16, 2024); and the deadline for filing motions in limine and non-

  dispositive motions (both currently set for May 10). Defendant asks that these deadlines be

  extended until June 3. This matter is now ripe.

         To justify the requested extensions, Defendant points to Plaintiff’s recently amended

  complaint, which did not assert new causes of action, but did increase Plaintiff’s damages request

  from $792,000 to over $1.3 million. Defendant contends the significant increase in damages,

  which the Court permitted after the deadline for amending pleadings, makes this “a different case”

  than before [Doc. 42 at Page ID # 668]. Defendant also cites that Plaintiff has “scheduled

  depositions for medical proof of Plaintiff’s treating medical providers Dr. Jeremy Bruce and Dr.

  Stephen Dreskin on May 13, 2024, and May 20, 2024, respectively.” [Id. at Page ID # 666].

  Defendant emphasizes these doctors were not deposed during discovery (which closed February




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  16) and argues Plaintiff’s November 2023 expert disclosures were “insufficient” 1 [id. at Page ID

  # 668]. Defendant contends that because the doctors’ testimony “is unknown,” Defendant “is

  unable to evaluate whether or not a medical expert will be needed to rebut this unknown testimony

  until these depositions have taken place.” [Id. at Page ID # 667]. Finally, Defendant complains

  that under the Amended Scheduling Order, the May 10 deadline for filing motions in limine expires

  before the parties’ final witness lists/exhibit lists are due (May 24).

            Pursuant to Federal Rule of Civil Procedure 16(b)(4), a scheduling order may be modified

  “only for good cause.” “The primary measure of Rule 16’s ‘good cause’ standard is the moving

  party’s diligence in attempting to meet the case management order’s requirements.” Inge v. Rock

  Fin. Corp., 281 F.3d 613, 625 (6th Cir. 2002) (quoting Bradford v. DANA Corp., 249 F.3d 807,

  809 (8th Cir. 2001)). “Another relevant consideration is possible prejudice to the party opposing

  the modification.” Id.; see also Moore v. Indus. Maint. Serv. of Tenn., Inc., 570 F. App’x 569, 577

  (6th Cir. 2014).




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      Plaintiff’s November 2023 expert disclosures provide in relevant part:

            Plaintiff intends to present as evidence the expert opinions of the following medical
            providers and following subject matter pursuant to Fed. R. Civ. P. 702, 703, or 705:
            a) causation, and b) damages. Each provider will testify regarding his or her
            treatment of Ms. Guthrie:

            a. Jeremy Bruce, MD, 1809 Gunbarrel Rd, Chattanooga, TN . . . . Dr. Bruce is an
            orthopaedic surgeon who operated on Ms. Guthrie’s knee following the accident.
            ....
            d. Stephen Dreskin, MD, Tennessee Valley Pain Management, 2700 Westside
            Drive, Suite 306, Cleveland, TN . . . . Dr. Dreskin is a Board Certified Pain
            Management specialist who treated Ms. Guthrie following the accident.

  [Doc. 42-1 at Page ID # 670-71]. The record reflects Dr. Bruce, whose deposition is scheduled
  for May 13, performed the first operation on Plaintiff’s knee, not the second [see Doc. 34 at Page
  ID # 575].
                                                     2

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         Under the circumstances of this case, the Court agrees the recent amendment to Plaintiff’s

  complaint constitutes good cause to grant a short, limited extension of the deadline for making

  rebuttal medical expert disclosures. In granting Plaintiff leave to file the untimely amended

  complaint, the Court specifically acknowledged the potential for prejudice to Defendant in

  allowing a significant increase in Defendant’s potential exposure to liability after the close of

  discovery (and therefore after the expiration of expert disclosure deadlines). 2 Plaintiff does not

  allege any particular prejudice in allowing the extension.

         Any requested extension of the non-dispositive motions deadline, however, is not justified

  on the current record. The Amended Scheduling Order, entered in January, set the non-dispositive

  motions deadline to expire prior to the deadline for final witness/exhibit lists. The parties raised

  no objections regarding the sequence of deadlines set in the Amended Scheduling Order until the

  instant motion. I find the increase in damages does not bear on the scheduling sequence and does

  not constitute good cause for an extension of the non-dispositive motions deadline, especially since

  Defendant did not identify any particular non-dispositive motion it wished to file (other than

  motions in limine which are addressed below).

         As for the impact of the deposition schedule, which appears to have been contemplated by

  the parties in their joint motion seeking the amended scheduling order [Doc. 28], the Amended

  Scheduling Order provides that “[d]epositions for evidence (proof) shall be completed thirty (30)

  days prior to the final pretrial conference unless all parties agree otherwise[.]” [Doc. 30 at Page ID

  # 268]. Again, no party raised an objection to this aspect of the Amended Scheduling Order when

  it was issued in January upon the parties’ joint motion seeking an amended scheduling order. The



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    The theatrical tone of Plaintiff’s response is wholly unnecessary, distracting and disrespects the
  cooperation she has received in this case from Defendant [see Doc. 43]. Nevertheless, her point
  that the seriousness of this case has been evident from the outset is well-taken.
                                                    3

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  final pretrial conference is set for June 25; accordingly, Plaintiff’s May 13 and May 20 depositions

  meet the deadline in the Amended Scheduling Order so the taking of these depositions is not

  necessarily good cause for an extension. Moreover, Defendant should still be able to present

  appropriate objections related to the medical evidence, including the medical evidence related to

  the increased damage request, at trial.

         However, the timing of the depositions relates to Defendant’s argument regarding

  Plaintiff’s medical expert disclosures. That argument appears to be focused on the adequacy of

  Plaintiff’s expert disclosures under Federal Rule of Civil Procedure 26(a)(2)(C)(ii), not the

  doctors’ qualifications and competency. In any event, the deadline for filing Daubert motions

  expired March 1, 2024 [Doc. 30 at Page ID # 267].

         As to the adequacy of the expert disclosures under Rule 26(a)(2)(C)(ii), if Defendant

  wishes to file a motion in limine regarding same, it should be able to do so within the time frame

  established in the Amended Scheduling Order, that is May 10, 2024, since it has had the disclosures

  in hand for some time. However, as argued by Defendant in reply, it “is not asking the Court to

  exclude these expert opinions [based on the disclosures]; instead, the United States is simply

  requesting the opportunity to respond [to] them after being informed of these opinions for the first

  time in depositions that are taking place after discovery has already closed.” [Doc. 44 at Page ID

  # 683]. Under these circumstances, I find a short extension of the in limine deadline only as to the

  testimony of Dr. Bruce and Dr. Dreskin is warranted in the interests of justice and is supported by

  good cause. For any such in limine motion to be ripe prior to the final pretrial conference, however,

  an expedited briefing schedule will be necessary.

         Consequently, Defendant’s Motion to Amend the Scheduling Order [Doc. 42] is

  GRANTED IN PART AND DENIED IN PART as follows:



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                 1. Defendant may make Rule 26(a)(2) rebuttal medical expert
                    disclosures on or before JUNE 3, 2024.

                 2. A single motion in limine (with supporting authority) relating to
                    the depositions of Dr. Bruce and Dr. Dreskin may be filed by
                    Defendant no later than MAY 31, 2024. Plaintiff shall have
                    until JUNE 7, 2024, to respond to any such motion. Any reply
                    must be filed by JUNE 11, 2024.

         All other deadlines and requirements in the Amended Scheduling Order remain in effect

  and are not changed by entry of this Order.

         SO ORDERED.

         ENTER:

                                                s/Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE




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